                     UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                           COLUMBIA DIVISION


UNITED STATES OF AMERICA             )
                                     )
                 v.                  )    NO.    1:11-00010-3
                                     )
LARRY GLEN BLY                       )

                                O R D E R


           For the reasons stated in defendant’s sealed motion

(Docket Entry No. 95), defendant Bly has moved to continue the

hearing on defendant’s motion to ascertain status of appointed

counsel previously scheduled for October 24, 2012 (Docket Entry No.

90).

           Defendant’s motion to continue is GRANTED.             The hearing

on defendant Bly’s motion to ascertain status of appointed counsel

is RESCHEDULED to November 28, 2012, at 10:00 a.m.

           It is so ORDERED.

                                         s/ John S. Bryant
                                         JOHN S. BRYANT
                                         United States Magistrate Judge




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